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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS



Moura, et al.,
                               Plaintiffs,
                                                            CIVIL ACTION
             v.
                                                            NO. 17-40166-TSH
New Prime, Inc., et al.,
                               Defendants,



                                      JUDGMENT


HILLMAN, D. J.


      In accordance with the Court's Order dated 9/27/21, granting defendants’

motions for summary judgment in the above-entitled action, it is hereby ORDERED:

                    Judgment for the         Defendants




                                                      By the Court,


       9/28/21                                        /s/ Martin Castles
        Date                                          Deputy Clerk
